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                         IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, NORTHERN DIVISION



 UNITED STATES OF AMERICA,                                  Case No. 1:21-CR-00009 DBB

                    Plaintiff,                              INITIAL NOTIFICATION OF
                                                            COMPLIANCE AND REQUEST FOR
 vs.                                                        RECIPROCAL DISCOVERY

 TIMOTHY PATTAN,
                                                            Judge David B. Barlow
                    Defendant.




       The United States of America, by and through the undersigned, hereby files its initial

notification of compliance with its discovery obligations in this case and request for reciprocal

discovery from the defendant.

       The United States gives notice that the following is being or has been provided to counsel

for the defendant via USAfx:




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 Discovery produced:      Bate Numbered Documents:

 NOC 01                   See attached Discovery Index



As additional discoverable material becomes available, such material will be provided within a

reasonable time. Throughout this case, the United States will provide material discoverable

under Rules 16 and 26.2 of the Federal Rules of Criminal Procedure and the Jencks Act without

requiring the defendant to make a specific request for such material. Upon the request of the

defendant, the United States will permit and facilitate the defendant’s own inspection, copying or

photographing of those items described/defined in Rule 16(a)(1)(E).

       The United States also hereby requests disclosure of evidence by the defendant (also

known as reciprocal discovery) pursuant to Rule 16(b) of the Federal Rules of Criminal

Procedure and DUCrimR 16-1(c). By providing Rule 16 discovery without requiring a specific

request from the defense, the United States invokes a reciprocal obligation on the defendant

under DUCrimR 16-1(c), which states that the defendant must allow the government to inspect

and to copy the following, as further defined in Rule 16 of the Federal Rules of Criminal

Procedure:

               a.      Documents and tangible objects the defendant intends to introduce as
                       evidence at trial;

               b.      Reports of examinations and tests the defendant intends to introduce at
                       trial or that were prepared by a witness whom the defendant intends to call
                       at trial; and

               c.      A written summary of the testimony of any expert the defendant intends to
                       use a trial under Federal Rules of Evidence 702, 703 and 705.


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The United States requests that the defendant provide to the government at a reasonable time

before trial, but no later than five working days before trial, copies of the material referenced in

this paragraph. Further, the United States requests continuing compliance with the reciprocal

discovery following the initial disclosure.

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        The United States also hereby requests all written and recorded statements by any witness

other than the defendant whom the defendant intends to call at trial or a hearing covered by the

Jencks Act or Rule 26.2 of the Federal Rules of Criminal Procedure.

        DATED this 8th day of October, 2021.

                                                      ANDREA T. MARTINEZ
                                                      Acting United States Attorney



                                                      /s/ Branden B. Miles
                                                      BRANDEN B. MILES
                                                      Special Assistant United States Attorney




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I am an employee of the United States Attorney=s Office, and

that a copy of the foregoing INITIAL NOTIFICATION OF COMPLIANCE was made available

to all parties identified below on October 8, 2021.


       Tessa Hansen
       Attorney for Defendant T. Pattan
       Office of the Federal Public Defender - Utah
       46 W. Broadway, Suite 110
       Salt Lake City, Utah 84101




                                                      /s/ Beth Z. McAlpin
                                                      Beth Z. McAlpin
                                                      Legal Administrative Specialist




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                                US v. Timonty Pattan DISCOVERY INDEX 17 Filed 10/08/21 PageID.43 Page 5 of 5

CATEGORY         FOLDER NAME        DESCRIPTION                             BATES BEGIN         BATES END              RELATED CSOURCE   NOC
Media            WMSF Bodycams      AXON_Body_2_Video_2020-07-13_1659.mp4   BC-WMSF-01-00001    BC-WMSF-01-00001                Agent          1
Media            WMSF Bodycams      AXON_Body_2_Video_2020-07-13_1700.mp4   BC-WMSF-01-00002    BC-WMSF-01-00002                Agent          1
Media            WMSF Bodycams      AXON_Body_2_Video_2020-07-13_1702.mp4   BC-WMSF-01-00003    BC-WMSF-01-00003                Agent          1
Media            WMSF Bodycams      AXON_Body_2_Video_2020-07-13_1704.mp4   BC-WMSF-01-00004    BC-WMSF-01-00004                Agent          1
Media            WMSF Bodycams      AXON_Body_2_Video_2020-07-13_1710.mp4   BC-WMSF-01-00005    BC-WMSF-01-00005                Agent          1
Media            WMSF Bodycams      AXON_Body_2_Video_2020-07-13_1730.mp4   BC-WMSF-01-00006    BC-WMSF-01-00006                Agent          1
Media            WMSF Bodycams      AXON_Body_2_Video_2020-07-13_1745.mp4   BC-WMSF-01-00007    BC-WMSF-01-00007                Agent          1
Background       Criminal History   III report                              BG-TWP-01-00001     BG-TWP-01-00001.02              Agent          1
Background       Criminal History   OTRACK report                           BG-TWP-01-00002     BG-TWP-01-00002.02              Agent          1
Background       Criminal History   UBI report                              BG-TWP-01-00003     BG-TWP-01-00003.16              Agent          1
Media            Case Photos        IMG_1721                                PH-01-00001         PH-01-00001                     Agent          1
Media            Case Photos        IMG_1723                                PH-01-00002         PH-01-00002                     Agent          1
Media            Case Photos        IMG_1731                                PH-01-00003         PH-01-00003                     Agent          1
Media            Case Photos        IMG_1732                                PH-01-00004         PH-01-00004                     Agent          1
Media            Case Photos        IMG_1733                                PH-01-00005         PH-01-00005                     Agent          1
Media            Case Photos        IMG_1734                                PH-01-00006         PH-01-00006                     Agent          1
Media            Case Photos        Photograph 20SO6085                     PH-01-00007         PH-01-00007                     Agent          1
Investigative    UBFS Lab Report    State Crime Lab N2020-0783              RPT-UBFS-01-00001   RPT-UBFS-01-00001.03            Agent          1
Investigative    WMSF Police Rpt    SOPD 20SO6085                           RPT-WMSF-01-00001   RPT-WMSF-01-00001.21            Agent          1
Investigative    WMSF Police Rpt    SOPD 20SO6092                           RPT-WMSF-01-00002   RPT-WMSF-01-00002.05            Agent          1
Investigative    WMSF Police Rpt    WMSNF 20N-464                           RPT-WMSF-01-00003   RPT-WMSF-01-00003.08            Agent          1
Background       State Court        Forfeiture Order 200904466              SC-01-00001         SC-01-00001.02                  Agent          1
Search Warrant   Search Warrant     SEARCH WARRANT 2120811                  SW-01-00001         SW-01-00001.11                  Agent          1
